                      Case 2:17-cv-03117-JCM-VCF Document 42 Filed 07/29/20 Page 1 of 2



                 1
                 2
                 3
                 4                               UNITED STATES DISTRICT COURT
                 5                                       DISTRICT OF NEVADA
                 6                                                  ***
                 7    JORGE ROSALES,                                       Case No. 2:17-CV-3117 JCM (GWF)
                 8                                         Plaintiff(s),                     ORDER
                 9           v.
               10     BELLAGIO, LLC,
               11                                        Defendant(s).
               12
               13            Presently before the court is the matter of Rosales v. Bellagio LLC, case number 2:17-cv-
               14     03117-JCM-GWF. On March 28, 2019, this court granted summary judgment in defendant
               15     Bellagio’s favor. (ECF No. 28). Plaintiff Jorge Rosales appealed (ECF No. 31), and the Ninth
               16     Circuit reversed this court’s decision (ECF No. 36). A divided Ninth Circuit panel found that
               17     this court “applied the wrong legal standard” and remanded the case “for proper resolution of
               18     Rosales’ ADA failure to accommodate claim.” Id. at 3.
               19            Bellagio now moves for a status conference “to discuss with the [c]ourt and [p]laintiff
               20     how the [c]ourt would prefer the parties to proceed . . . .”     (ECF No. 40 at 1). A status
               21     conference is not necessary. Cf LR 78-1. The parties shall have until August 14, 2020, to file
               22     renewed motions for summary judgment regarding Rosales’s remaining ADA claim, which
               23     should take into consideration the Ninth Circuit’s memorandum disposition. Briefing shall
               24     proceed in the ordinary course, and the court will consider any such motions when they are ripe.
               25     ...
               26     ...
               27     ...
               28     ...

James C. Mahan
U.S. District Judge
                      Case 2:17-cv-03117-JCM-VCF Document 42 Filed 07/29/20 Page 2 of 2



                1            The court orders this case be reopened. The court also notes that Magistrate Judge Foley
                2     retired while this case was pending before the Ninth Circuit. Accordingly, the court orders that
                3     this case be assigned to a new magistrate judge.
                4            IT IS SO ORDERED.
                5            DATED July 29, 2020.
                6                                                  __________________________________________
                                                                   UNITED STATES DISTRICT JUDGE
                7
                8
                9
              10
              11
              12
              13
              14
              15
              16
              17
              18
              19
              20
              21
              22
              23
              24
              25
              26
              27
              28

James C. Mahan
U.S. District Judge                                                 -2-
